Case: 5:12-cr-00079-KKC         Doc #: 1209 Filed: 07/22/16          Page: 1 of 5 - Page ID#:
                                           4891



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    LEXINGTON

      UNITED STATES OF AMERICA,                     )
                                                    )
            Plaintiff/Respondent,                   )        No. 5:12-CR-79-KKC-REW-7
                                                    )        No. 5:16-CV-265-KKC-REW
      v.                                            )
                                                    )
      XAVIER DURRELL GREEN,                         )      RECOMMENDED DISPOSITION
                                                    )
            Defendant/Movant.                       )

                                     *** *** *** ***

           Movant, Xavier Durrell Green, is a federal inmate. DE #1206 (Motion). On July

  7, 2016, 1 Green filed a pro se 2 motion under 28 U.S.C. § 2255. See generally id. The

  Court has conducted an initial review of the filing. For the reasons stated below, the

  Court RECOMMENDS that the District Judge TRANSFER Green’s § 2255 motion

  (DE #1206) to the Sixth Circuit pursuant to 28 U.S.C. § 1631. The motion is second or

  successive, and Green has not secured Sixth Circuit authorization to file.

  I.       BACKGROUND INFORMATION

           On August 16, 2012, a federal grand jury indicted Green, among others, with one

  count of conspiring to distribute twenty-eight grams or more of crack cocaine, in

  violation of 21 U.S.C. §§ 841(a)(1) and 846, and with two counts of distributing crack

  1
    This filing date reflects the prison mailbox rule. See Richard v. Ray, 290 F.3d 810, 812-
  13 (6th Cir. 2002) (per curiam). Here, Green dated the motion as signed on July 7, 2016,
  DE #1206, at 9, and the envelope was stamped as processed through the prison mailbox
  system on July 11, 2016, DE #1206-1, at 2.
  2
    Pro se petitions receive a comparatively lenient construction by the Court. Franklin v.
  Rose, 765 F.2d 82, 84-85 (6th Cir. 1985) (noting that “allegations of a pro se habeas
  petition, though vague and conclusory, are entitled to a liberal construction” including
  “active interpretation” toward encompassing “any allegation stating federal relief”
  (citations and internal quotation marks omitted)).
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Case: 5:12-cr-00079-KKC         Doc #: 1209 Filed: 07/22/16            Page: 2 of 5 - Page ID#:
                                           4892



  cocaine, in violation of 21 U.S.C. § 841(a)(1). DE #20 (Superseding Indictment, Counts

  1, 23-24). The grand jury later again superseded the indictment, with no substantive

  changes to Green’s charges. DE #179 (Second Superseding Indictment). Green pleaded

  guilty to the conspiracy count and one distribution count, pursuant to a plea agreement,

  on December 12, 2012. DE ##340 (Minute Entry); 344 (Plea Agreement); 345 (Sealed

  Supplement). Judge Caldwell sentenced Green on December 17, 2013. DE #846 (Minute

  Entry). Green received a total prison sentence of 120 months, the mandatory minimum,

  followed by 8 years of supervised release. DE # 854 (Judgment). Some nine months later,

  Green filed a motion for leave to file a direct appeal, DE #992 (Motion), which Judge

  Caldwell denied. DE #997 (Order). On December 10, 2015, Green filed a § 2255 motion

  premised on Johnson v. United States, 135 S. Ct. 2251 (2015), as applied to the career

  offender provisions of the Sentencing Guidelines, which the Court deemed timely filed.

  DE ##1132 (Motion); 1136 (Order). After full briefing and a recommended disposition,

  Judge Caldwell denied the § 2255 motion. DE #1178 (Memorandum Opinion & Order).

         Green now files a second § 2255 motion, again premised on Johnson and

  U.S.S.G. § 4B1.1. Because Green has not obtained authorization from the Sixth Circuit to

  file a second or successive § 2255 petition, the Court recommends transfer. 3


  3
    This is one of many problems with Green’s motion. The Court pursues transfer first, as
  a jurisdictional predicate. 28 U.S.C. § 2244(b)(3)(A). However, § 2255(e) also mandates
  that a habeas request “shall not be entertained” if a sentencing court already “has denied
  [movant] relief[.]” Id. § 2255(e). Further, § 2244(a) blocks reconsideration of detention
  “if it appears that the legality of such detention has been determined by a judge . . . of the
  United States on a prior application . . . , except as provided in section 2255.” Id.
  § 2244(a). Jurisdiction comes first as a hurdle to this redundant filing, see Rules
  Governing Section 2255 Proceedings, Rule 9, so the Court elects transfer. See United
  States v. Jones, No. 7:08-28-KKC, 2014 WL 1513166, at *2 (E.D. Ky. April 16, 2014)
  (Caldwell, C.J.) (citing Sims and Rule 9, stating: “The Sixth Circuit requires transfer, for
  want of jurisdiction, when a movant files a second or successive § 2255 motion in the
  district court (and without proper circuit authorization).”).
                                                2
Case: 5:12-cr-00079-KKC        Doc #: 1209 Filed: 07/22/16           Page: 3 of 5 - Page ID#:
                                          4893



  II.    ANALYSIS

         In the § 2255 motion, Green again requests relief based on the proposition that he

  no longer qualifies as a career offender under § 4B1.1 after Johnson. The Sixth Circuit

  has applied the reasoning in Johnson to invalidate the residual clause of § 4B1.1. See

  United States v. Pawlak, 822 F.3d 902, 907 (6th Cir. 2016). 4

         “A second or successive motion must be certified as provided in section 2244 by a

  panel of the appropriate court of appeals to contain . . . a new rule of constitutional law,

  made retroactive to cases on collateral review by the Supreme Court, that was previously

  unavailable.” 28 U.S.C. § 2255(h)(2). “Before a second or successive application

  permitted by this section is filed in the district court, the applicant shall move in the

  appropriate court of appeals for an order authorizing the district court to consider the

  application.” Id. § 2244(b)(3)(A). The statutes mandate the Circuit as the starting point

  for second or successive § 2255 filings.

         This is unquestionably a second or successive § 2255 motion. Burton v. Stewart,

  127 S. Ct. 793 (2007) (per curiam). 5 Green filed the first in December 2015. DE #1132

  (§ 2255 Motion). The parties briefed the sole claim Green raised, namely whether, in

  light of Johnson, Green continued to qualify as a career offender under § 4B1.1. DE
  4
    The Court of Appeals has not yet addressed the retroactive availability of Johnson, as
  applied to the Sentencing Guidelines, to defendants on collateral review. The Supreme
  Court recently granted certiorari in Beckles v. United States, No. 15-8544, 2016 WL
  1029080 (June 27, 2016), to address the issue.
  5
    Of course, not all numerically second habeas petitions are “second or successive.”
  Magwood v. Patterson, 130 S. Ct. 2788, 2796 (2010). However, nothing in the record
  indicates that Green’s claim, the second to attack the underlying judgment, goes outside
  the cases’ interpretation of “second or successive.” See, e.g., In re Jones, 652 F.3d 603,
  605 (6th Cir. 2010) (summarizing the Supreme Court case law and finding that a
  numerically second petition was not “second or successive” because the claim was
  “unripe” when movant filed the initial petition, meaning that “the events giving rise to the
  claim had not yet occurred”). That is not the case here—Green seeks a second (really,
  identical) bite at the apple regarding his Johnson claim.
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Case: 5:12-cr-00079-KKC            Doc #: 1209 Filed: 07/22/16       Page: 4 of 5 - Page ID#:
                                              4894



  ##1154 (Response), 1163 (Reply). Judge Wehrman issued a thorough recommended

  disposition. DE #1165. Green objected. DE #1170. The District Court adopted the

  recommendation and denied the § 2255 motion. DE #1178. Green did not appeal or even

  seek a Certificate of Appealability.

          Green now presents a second § 2255 motion, again arguing that Johnson “applies

  to individuals who were sentenced as a career offender based on . . . the ‘residual clause’

  of the career offender guideline.” DE #1206, at 7. Judge Caldwell rejected relief on the

  same claim before, finding the career offender calculus irrelevant to the mandatory

  minimum sentence Green received. DE #1178, at 3. Green has not received the requisite

  authorization for a second § 2255 motion from the Sixth Circuit. 6 See § 2255(h); see also

  § 2244(b)(3). The Court thus recommends that the District Court transfer the motion to

  the Sixth Circuit pursuant to 28 U.S.C. § 1631. See In re Sims, 111 F.3d 45, 47 (6th Cir.

  1997) (“[W]e hold that when . . . a second or successive . . . § 2255 motion is filed in the

  district court without § 2244(b)(3) authorization from this court, the district court shall

  transfer the document to this court pursuant to 28 U.S.C. § 1631.”).

  III.    RECOMMENDATION

          For the reasons discussed above, the Court RECOMMENDS that the District

  Judge TRANSFER Green’s § 2255 motion (DE #1206) to the Sixth Circuit pursuant to

  28 U.S.C. § 1631. The motion (likely meritless and non-cognizable based on the prior

  disposition) foundationally is second or successive, and Green did not secure Sixth

  Circuit authorization to file.

                                         *   *   *   *   *

  6
    The docket reflects, and Green asserts, no such authorization. Further, the Court
  searched the Sixth Circuit’s online docket and found no grant of authorization to Green.
                                                 4
Case: 5:12-cr-00079-KKC        Doc #: 1209 Filed: 07/22/16           Page: 5 of 5 - Page ID#:
                                          4895



         The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights and

  mechanics concerning this Recommended Disposition, issued under subsection (B) of the

  statute. See also Rule 8(b), Rules Governing Section 2255 Proceedings for the United

  States District Courts. Within fourteen days after being served with a copy of this

  decision, any party may serve and file specific written objections to any or all findings or

  recommendations for determination, de novo, by the District Court. Failure to make a

  timely objection consistent with the statute and rule may, and usually does, result in

  waiver of further appeal to or review by the District Court and Court of Appeals. See

  Thomas v. Arn, 106 S. Ct. 466, 475 (1985); United States v. Walters, 638 F.2d 947, 950

  (6th Cir. 1981).

         This the 22d day of July, 2016.




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